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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF TEXAS
                                      MARSHALL DIVISION


 BRIGHT DATA LTD.

                Plaintiff,                             Case No. 2:21-CV-00225-JRG-RSP
        v.
 NETNUT LTD.
                Defendant.



                DEFENDANT NETNUT LTD.’S OPPOSITION TO
        PLAINTIFF’S OPPOSED MOTION TO EXTEND THE DEADLINE FOR
      AMENDING INFRINGEMENT CONTENTIONS IN THE DISCOVERY ORDER

        On December 14, 2021, NetNut informed Bright Data that its source code was available for

 inspection. Ex. A. Despite the parties’ coordination on the motion for the Docket Control Order

 only two months earlier (Dkt. 48) and knowing that NetNut’s source code production was due by

 December 17 (Dkt. 56 at 5), Bright Data waited until December 21 to inform NetNut that its source

 code reviewer was “unavailable” until January 5 and that it wanted to extend the deadline for

 amending its infringement contentions pursuant to the Discovery Order (Dkt. 57 ¶ 3(a)(i)). Bright

 Data’s motion (Dkt. 80) does not address its lack of preparation or explain why it failed to

 coordinate with its reviewer earlier. Instead, Bright Data merely asserts that the reviewer’s failure

 to review the code is “due to the holidays and his work schedule.” Dkt. 80 at 1. Mindful of the

 case schedule and upcoming due dates related to claim construction briefing and discovery, NetNut

 agreed to a five-day extension. This is a fair compromise between accommodating any delay due

 to the holidays and avoiding prejudice to NetNut in view of the case schedule and need to timely

 receive Bright Data’s amended infringement contentions. Bright Data rejected this compromise.


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 Ex. A. Instead, Bright Data seeks to unilaterally restart the deadline for supplementation until a

 time convenient for Bright Data to begin its source code review. Dkt. 80 at 1. This is contrary to

 the Discovery Order. It is also prejudicial to NetNut and unwarranted under the circumstances of

 this case.

         First, restarting the deadline for supplementation based on when Bright Data’s source code

 reviewer is available, as proposed in its motion, would move the current deadline for amended

 infringement contentions from January 13, 2022 to February 4, 2022.1 Id. This is prejudicial to

 NetNut. Among other things, this new deadline is after the parties will have solidified their claim

 construction positions in their P.R. 4-3 Joint Claim Construction Statement on January 26, 2022.

 Dkt. 56 at 4. As the Court has explained, the Local Patent Rules encourage “specificity and

 crystallization of the disputes early in the case,” because this helps with “narrowing issues for

 Markman, summary judgment, trial, and beyond.” Implicit, LLC v. Huawei Techs. USA, Inc., No.

 6:17-CV-00182-JRG, 2018 WL 11182156, at *5 (E.D. Tex. July 2, 2018) (internal quotations and

 quoted source omitted). This is also prejudicial to NetNut as claim construction discovery,

 including for expert depositions and investigating asserted claim construction theories, must be

 completed by February 9, 2022. Dkt. 56 at 4. Under the current January 13 deadline (or with an

 extension to January 18), NetNut is afforded more than five days to digest Bright Data’s amended

 infringement contentions and claim construction positions in relation to the asserted patents and

 accused systems.

         Second, Bright Data has shown no good cause or excuse for its lack of preparation. While

 Bright Data asserts that its source code reviewer “cannot begin his review until January 5 due to the


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  Under NetNut’s proposed five-day extension, the amended infringement contentions would be
 due on January 18, 2022. This allows Bright Data ample time to review the source code and
 provide its supplementations, even if its reviewer does not start inspecting the code until January 5.

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 holidays and his work schedule,” Dkt. 80 at 1, Bright Data offers no reason why it could not have

 coordinated with its source code reviewer earlier or had the source code reviewed before the

 holidays. See Ex. A. Indeed, NetNut’s source code was made available for inspection on

 December 14, 2021, three days in advance of the December 17 deadline. Id. Despite being fully

 aware of the schedule and NetNut’s code production, Bright Data waited until December 21 to first

 indicate that it needed more time to begin review of the source code and wanted to extend its

 supplementation deadline. Never—including during the parties’ meet-and-confer on December 22,

 2021—did Bright Data explain why it neglected to review NetNut’s source code when it was made

 available. The disclosure of NetNut’s source code was no surprise. Under the Docket Control

 Order, NetNut’s technical document production under P.R. 3-4(a) was due by December 17, 2021.

 Dkt. 56 at 5. As the plaintiff who chose to file this litigation against NetNut, Bright Data should

 have been prepared and planned in advance with its source code reviewer to inspect NetNut’s

 source code beginning in mid-December. “The Patent Rules demonstrate high expectations as to

 plaintiffs’ preparedness before bringing suit….” Sol IP, LLC v. AT&T Mobility LLC, No. 2:18-cv-

 00526-RWS-RSP, 2020 WL 1911388, at *4 (E.D. Tex. Apr. 20, 2020) (quoted source omitted). It

 is unfair for Bright Data to bring this suit against NetNut, only to shirk its obligations and the case

 deadlines according to its convenience.

        Third, the circumstances of this case demonstrate that, if anything, less time is needed for

 Bright Data’s review of NetNut’s source code. In both this case and Bright Data’s prior case

 against NetNut, one of the two accused systems is the same and both relate to proxy services.

 Compare Luminati Networks Ltd. v. NetNut Ltd., No. 2-20-cv-00188, Dkt. 1 ¶¶ 12, 41, 54 (E.D.

 Tex. June 11, 2020) (accusing “static residential” proxy services), with Bright Data Ltd. v. NetNut

 Ltd., No. 2:21-cv-00225, Dkt. 40 ¶¶ 5, 28 (E.D. Tex. Oct. 11, 2021) (accusing the same). See Ex.


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 A. The patents-in-suit here also share a common specification with each other and the patents in

 the prior case, and all of the asserted claims relate to similar proxy methods. See Dkt. 40 ¶¶ 10, 15.

 Moreover, the produced code is similar, and in both cases Bright Data has chosen to use the same

 source code reviewer, Matthew McKune. Ex. A. Given this background and Bright Data’s

 familiarity with NetNut’s products and code, NetNut’s compromise of a five-day extension

 provides more than ample time for Bright Data to review the source code and prepare its

 supplementation for this case.2

         For these reasons, NetNut respectfully opposes Bright Data’s request to restart the Court’s

 deadline for supplementation of Bright Data’s infringement contentions according to a date

 convenient to Bright Data. As the plaintiff in this case, Bright Data should have been prepared to

 meet the Court’s deadlines, as NetNut has consistently done. Given the holidays, NetNut’s offer of

 a five-day extension (i.e., moving the deadline to January 18, 2022) provides sufficient time for

 Bright Data to meet its supplementation obligations and should have resolved this dispute. Bright

 Data’s rejection of this compromise is excessive under the circumstances and would prejudice

 NetNut’s ability to timely understand Bright Data’s infringement theories and adequately prepare

 its claim construction positions and briefing for the Court’s consideration.



     Dated: December 31, 2021          By:        /s/ Eric H. Findlay
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  With a five-day extension, the amended infringement contentions would be due on January 18,
 2022. Bright Data fails to address why this extension would be insufficient.

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                                CERTIFICATE OF SERVICE

        I hereby certify that all counsel of record who are deemed to have consented to electronic

 service are being served this 31st day of December, 2021, via the Court’s CM/ECF system.



                                                       /s/ Eric H. Findlay
                                                       Eric H. Findlay




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